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5
                        UNITED STATES DISTRICT COURT
6                  FOR THE EASTERN DISTRICT OF WASHINGTON

7
     UNITED STATES OF AMERICA,                      Case No.: 2:13-CR-06070-SAB
8
                          Plaintiff,                Motion for Detention
9
                     v.
10
     KENNETH RICHARD ROWELL,
11
                          Defendant.
12

13
           The United States moves for detention of Defendant, pursuant to Federal
14
     Rules of Criminal Procedure 32.1(a)(6) and 46(d) and 18 U.S.C. § 3143(a). [The
15
     United States also moves for the revocation of Defendant’s release, pursuant to
16
     18 U.S.C. § 3148].
17
     A.    18 U.S.C. § 3143(a)
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           1.     Eligibility of Case
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           This case is eligible for a detention order because Defendant is pending a
20
     hearing on a violation of probation or supervised release.
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     Motion for Detention - 1
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 1         2.    Reason for Detention

 2         The Court should detain Defendant because the Court cannot find by clear

 3 and convincing evidence that (check one or both):

 4         ☒     Defendant is not likely to flee; and/or

 5         ☒     Defendant will not pose a danger to the safety of any other person or

 6 the community if released.

 7         The burden of establishing by clear and convincing evidence that Defendant

 8 will not flee or pose a danger to any other person or the community rests with

 9 Defendant.

10         3.    Time for Detention Hearing

11         The United States requests that the Court conduct the detention hearing:

12         ☒     At the first appearance, or

13         ☐     After a continuance of three days.

14         2.    Rebuttable Presumption.

15         The United States

16         ☒     will

17         ☐     will not

18 invoke the rebuttable presumption against Defendant under 18 U.S.C. § 3148(b).

19         If the United States is invoking the presumption, it applies because, while on

20 release, Defendant committed a Federal, State, or local felony.

21         3.    Time for Detention Hearing
     Motion for Detention - 2
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 1         The United States requests that the Court conduct the detention hearing:

 2         ☒      At the first appearance, or

 3         ☐      After a continuance of three days.

 4 B.      No Contact Order

 5         The United States further requests, in addition to pretrial confinement, that

 6 Defendant be subject to the following condition:

 7         Defendant shall have no contact whatsoever, direct or indirect, with any

 8 persons Defendant knows or reasonably should know are or may become a victim

 9 or potential witness in the subject investigation or prosecution. Prohibited forms of

10 contact include, but are not limited to, telephone, mail, email, text, video, social

11 media, and/or any contact through any third person or parties.

12         Dated: July 16, 2024.

13                                                 Vanessa R. Waldref
                                                   United States Attorney
14
                                                   s/Brandon L. Pang
15                                                 Brandon L. Pang
                                                   Assistant United States Attorney
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     Motion for Detention - 3
     Case 2:13-cr-06070-SAB      ECF No. 88     filed 07/16/24   PageID.317     Page 4 of 4




1                               CERTIFICATE OF SERVICE

2          I hereby certify that on July 16, 2024, I electronically filed the foregoing

3 with the Clerk of the Court using the CM/ECF System, which in turn automatically

4 generated a Notice of Electronic Filing (NEF) to all parties in the case who are

5 registered users of the CM/ECF system.

6                                                  s/Brandon L. Pang
                                                   Brandon L. Pang
7                                                  Assistant United States Attorney

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     Motion for Detention - 4
